Case 2:18-cr-20559-NGE-MKM ECF No. 39 filed 06/06/19       PageID.277    Page 1 of 3




                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
_________________________________________________________________


UNITED STATES OF AMERICA,

                         Plaintiff,

                                             Case No. 18-20559
            v.
                                             Honorable Nancy G. Edmunds
D-2 NASSIF SAMI DAHER,

                         Defendant.

__________________________________________________________________

     NOTICE OF FILING DECLARATION AND CLAIM OF PRIVILEGE
       OF THE ATTORNEY GENERAL OF THE UNITED STATES

      The United States of America, through undersigned counsel, respectfully

submits for filing the attached Declaration and Claim of Privilege of the Attorney

General of the United States, which is referenced in the Government’s Unclassified

Memorandum in Opposition to Defendant’s Motion to Discover Evidence Secured

Pursuant to the Foreign Intelligence Surveillance Act of 1978, as Amended by 50
Case 2:18-cr-20559-NGE-MKM ECF No. 39 filed 06/06/19    PageID.278   Page 2 of 3



U.S.C. §§ 1801-1812, and which was inadvertently omitted from the government’s

filing on June 5, 2019.



                                    Respectfully submitted,

                                    MATTHEW SCHNEIDER
                                    United States Attorney

s/Craig A. Weier (P33261)           s/Cathleen Corken
Assistant U.S. Attorney             Assistant United States Attorney
211 W. Fort Street, Suite 2001      Chief, National Security Unit
Detroit, Michigan 48226             211 W. Fort Street, Suite 2001
Phone: (313) 226-9678               Detroit, Michigan 48226
E-Mail: craig.weier@usdoj.gov       Phone: (313) 226-0206
                                    E-Mail: cathleen.corken@usdoj.gov


Dated: June 6, 2019




                                      2
Case 2:18-cr-20559-NGE-MKM ECF No. 39 filed 06/06/19         PageID.279    Page 3 of 3




                          CERTIFICATE OF SERVICE

        I hereby certify that on June 6, 2019, I electronically filed the foregoing
document using the ECF system, which will send notification of filing to the
counsel of record.



                                 s/Cathleen M. Corken
                                 Assistant U.S. Attorney




                                          3
